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                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                   PORTLAND DIVISION

FEDERAL TRADE COMMISSION,
STATE OF ARIZONA,
STATE OF CALIFORNIA,                              Case No.: 3:24-cv-00347-AN
DISTRICT OF COLUMBIA,
STATE OF ILLINOIS,
STATE OF MARYLAND,
STATE OF NEVADA,                                  ORDER GRANTING
STATE OF NEW MEXICO,                              JOINT MOTION FOR EXTENSION
STATE OF OREGON, and
STATE OF WYOMING,

Plaintiffs,

v.

THE KROGER COMPANY and
ALBERTSONS COMPANIES, INC.,

Defendants.

        Upon consideration of the parties’ Joint Motion for Extension of Time, it is hereby

        ORDERED that the Motion is GRANTED;

        FURTHER ORDERED that the Case Management and Scheduling Order be modified to

set Plaintiffs’ memorandum of law in support of its preliminary injunction as due on July 26,

2024, to set Defendants’ opposition as due on August 12, 2024, and to set Plaintiffs’ reply as due

August 21, 2024.

        SO ORDERED.

                                               _____________________________________
                                               UNITED STATES DISTRICT JUDGE

DATED: July 22, 2024
